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 1   BRIAN M. BOYNTON
     Principal Deputy Assistant Attorney
 2   General
 3   BRIGHAM J. BOWEN
     Assistant Branch Director
 4
     LISA NEWMAN
 5   BONNIE E. DEVANY
     Trial Attorneys
 6   U.S. Department of Justice
 7   Civil Division, Federal Programs Branch
     1100 L Street NW
 8   Washington, D.C. 20005
     Telephone: (202) 514-5578
 9   Email: lisa.n.newman@usdoj.gov
10   Attorneys for Defendants
11
12                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
13
14
     Arizona Yagé Assembly; Winfield Scott
15   Stanley III, in his capacity as Founder and
     Director of Arizona Yagé Assembly,                 No. 2:20-cv-2373-ROS
16
17                          Plaintiffs,              NOTICE OF DISPOSITIVE
            v.                                     ORDER IN APPELLATE ACTION
18
19   Merrick Garland, Attorney General of the
     United States, et al.,
20
21                          Defendants.

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        Case 2:20-cv-02373-ROS Document 244 Filed 09/19/24 Page 2 of 3



        DEFENDANTS’ NOTICE OF DISPOSITIVE ORDER IN APPELLATE ACTION
 1
            Defendants respectfully provide notice of a dispositive order in Plaintiffs’ previously
 2
     pending mandamus action, In Re: Arizona Yage Assembly, Case No. 24-01405. See Ex. 1.
 3
            On March 19, 2024, this Court stayed this case “in its entirety until the Ninth Circuit
 4
     issues a dispositive order in the appellate action In Re: Arizona Yage Assembly, Case No. 24-
 5
     01405.” Dkt. 240. On April 24, 2024, the Ninth Circuit denied Plaintiffs’ petition for a writ
 6
     of mandamus.       Dkt. 243.      Plaintiffs then filed a motion for reconsideration, and
 7
     reconsideration en banc, which the Ninth Circuit denied on August 13, 2024. In Re: Arizona
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     Yage Assembly, Case No. 24-01405, Dkt. 21. Plaintiffs then filed a motion to stay the mandate
 9
     on August 19, 2024. Id., Dkt. 22. Defendants opposed. Dkt. 23. On September 13, 2024,
10
     the Ninth Circuit issued an order denying the motion to stay the mandate as moot. See Ex. 1.
11
     As the Ninth Circuit stated, “[t]his court does not issue a mandate after resolving a petition
12
     for a writ of mandamus” and further stated that “[t]his petition remains closed.” Id. Given
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     the Ninth Circuit’s clarification in its September 13 order, Defendants respectfully provide
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     notice of a dispositive order in the appellate action.
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            Defendants are concurrently filing a request for a status conference and motion for an
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     extension of time to respond to the Motion to Intervene filed before the Court stayed this
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     case in its entirety. Dkt. 232.
18
19   Dated: September 19, 2024                Respectfully submitted,

20                                            BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney
21                                            General
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                                              BRIGHAM J. BOWEN
23                                            Assistant Branch Director
24                                            /s/ Lisa Newman
25                                            Lisa Newman
                                              Bonnie E. Devany
26                                            Trial Attorneys
                                              Civil Division, Federal Programs Branch
27                                            U.S. Department of Justice
                                              1100 L Street NW
28                                            Washington, D.C. 20005


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                                  Telephone: (202) 514-5578
 1                                E-mail: lisa.n.newman@usdoj.gov
 2                                Attorneys for Defendants
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